                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 1 of 26




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                           Case No. 20-cr-00266-JST-1
                                                        Plaintiff,
                                   8
                                                                                             ORDER DENYING DEFENDANT’S
                                                  v.                                         MOTIONS FOR NEW TRIAL AND
                                   9
                                                                                             JUDGMENT OF ACQUITTAL
                                  10     MICHAEL BRENT ROTHENBERG,
                                                                                             Re: ECF No. 384
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On November 16, 2023, a jury convicted Defendant Michael Brent Rothenberg of 21

                                  14   violations of federal criminal law, including bank fraud, false statements to a financial institution,

                                  15   wire fraud, and money laundering. ECF No. 339. Thereafter, Rothenberg filed motions for new

                                  16   trial and judgment of acquittal, ECF Nos. 364, 365, which the Court denied, ECF Nos. 378, 380.

                                  17          Rothenberg now renews his motions pursuant to Rules 29 and 33 of the Federal Rules of

                                  18   Criminal Procedure and the Ninth Circuit’s intervening decision in United States v. Milheiser, 98

                                  19   F.4th 935 (9th Cir. 2024). ECF No. 384. He argues that the Government offered insufficient

                                  20   evidence that his misrepresentations to Silicon Valley Bank and various fund investors “went to

                                  21   the ‘nature of the bargain.’” Id. at 11 (quoting Milheiser, 98 F.4th at 944). In the alternative, he

                                  22   argues that the Court should grant a new trial “because the jury instructions here, like the

                                  23   instructions in Milheiser, did not inform the jury that ‘to support a conviction for fraud, a false

                                  24   statement must directly or indirectly deceive the victim about the nature of the bargain.’” Id.

                                  25   (quoting Milheiser, 98 F.4th at 945).

                                  26          The Court will deny the motions.

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                                            Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 2 of 26




                                   1   I.       BACKGROUND

                                   2            A.      Factual Background

                                   3                           1.      Rothenberg’s Business

                                   4            In 2012, Rothenberg founded a Silicon Valley venture capital firm, Rothenberg Ventures

                                   5   Management Company (“RVMC”). Trial Tr., vol. 22, 4102:18–4104:9. Through RVMC,

                                   6   Rothenberg managed several capital investment funds and co-funds.1 As relevant here, these

                                   7   included four main funds: the 2013 Fund, the 2014 Fund, the 2015 Fund, and the 2016 Fund. See

                                   8   Trial Tr., vol. 3, 597:5–11; 628:15–20; 653:3–7; Trial Tr., vol. 4, 717:1–10. He also founded

                                   9   other companies, including one that sponsored a race car driver (“River Sports”); a business

                                  10   accelerator (“River Accelerator”), and a virtual reality content production company (“River

                                  11   Studios”). Trial Tr., vol. 4, 718–719; Trial Tr., vol. 7, 1314; Trial Tr., vol. 22, 4166. These three

                                  12   entities were sometimes referred to collectively as the “River Ecosystem.” Trial Tr., vol. 15,
Northern District of California
 United States District Court




                                  13   2875–2876; Trial Tr., vol. 20, 3772; Tr. Ex. 238.

                                  14                           2.      Indictment

                                  15            On August 20, 2020, Rothenberg was charged in a 23-count indictment alleging as

                                  16   follows:2

                                  17            •       Bank fraud in violation of 18 U.S.C. § 1344 (Count One) (Silicon Valley Bank);

                                  18            •       False statements to a financial institution in violation of 18 U.S.C. § 1014 (Count

                                  19   Two) (Silicon Valley Bank);

                                  20            •       Bank fraud in violation of 18 U.S.C. § 1344 (Count Three) (Silicon Valley Bank);

                                  21            •       False statements to a financial institution in violation of 18 U.S.C. § 1014 (Count

                                  22   Four) (Silicon Valley Bank);

                                  23            •       Wire fraud in violation of 18 U.S.C. § 1343 (Counts Five through Seven) (Pilot

                                  24   Grove Management/Transcend VR);

                                  25            •       Money laundering in violation of 18 U.S.C. § 1957 (Counts Eight through Eleven);

                                  26
                                  27
                                       1
                                        A “co-fund” invests in one specific company instead of a portfolio of different companies. See
                                       Trial Tr., vol. 7, 1307:5–1308:23.
                                  28   2
                                           The Court omits the indictment’s aiding and abetting language for simplicity.
                                                                                         2
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 3 of 26




                                   1          •         Wire fraud in violation of 18 U.S.C. §§ 1343 (Counts 12 through 15) (Unity

                                   2   Technologies);

                                   3          •         Wire fraud in violation of 18 U.S.C. §§ 1343 (Counts 16 through 23) (2015 and

                                   4   2016 Rothenberg Fund).

                                   5   ECF No. 15. On October 25, 2021, the Court severed Counts One and Two from the remaining

                                   6   counts. ECF No. 101. Those two counts went to trial in November 2022, but the Court granted a

                                   7   mistrial after the jury could not reach a verdict. ECF No. 205.

                                   8          B.        Procedural Background

                                   9                           1.     Trial

                                  10          Trial on Counts Three to Twenty-Three began on October 3, 2023. At the close of the

                                  11   Government’s case, Rothenberg made an oral motion for a judgment of acquittal under Federal

                                  12   Rule of Criminal Procedure 29, which the Court denied. Trial Tr., vol. 22, 4085:15–19, 4263:4–
Northern District of California
 United States District Court




                                  13   17. After the conclusion of the Government’s case, Rothenberg testified in his own defense, and

                                  14   the defense rested. Trial Tr., vol. 22–23. Rothenberg then renewed his oral motion for a judgment

                                  15   of acquittal, which the Court again denied. Trial Tr., vol. 23, 4329:13–17.

                                  16                           2.     Jury Instructions and Verdict

                                  17          Following the conclusion of the evidence, the Court instructed the jury. The instructions

                                  18   regarding bank fraud and wire fraud both used the same definition of materiality. ECF No. 338 at

                                  19   16, 19, 22. Using the language of the Ninth Circuit’s Model Criminal Jury Instructions, the Court

                                  20   instructed the jury that “the statements or promises [must have been] material; that is, they had a

                                  21   natural tendency to influence, or were capable of influencing, [a financial institution or a person]

                                  22   to part with money or property.” ECF No. 338; see also Manual of Model Criminal Jury

                                  23   Instructions for the District Courts of the Ninth Circuit (2022 ed.), Instrs. 15.35, 15.36.

                                  24   Rothenberg did not object to the jury instructions on materiality or suggest alternative instructions.

                                  25   ECF No. 255.

                                  26          After seven weeks of trial, and three days of deliberations, the jury returned a guilty verdict

                                  27   on all 21 counts. ECF No. 339.

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                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 4 of 26




                                   1                          3.      Post-Trial Motions

                                   2          After trial, Rothenberg moved for a judgment of acquittal, based on insufficient evidence,

                                   3   and a new trial, based on violations of his right to confrontation and his right to a fair and

                                   4   impartial jury. ECF Nos. 364, 365. The Court heard oral argument on both motions on March 1,

                                   5   2024, ECF No. 376, and thereafter denied the motions. ECF Nos. 378, 380.

                                   6                          4.      United States v. Milheiser

                                   7          On April 9, 2024, after the proceedings summarized above, the Ninth Circuit decided

                                   8   United States v. Milheiser, 98 F.4th 935 (9th Cir. 2024). In that case, defendants had owned or

                                   9   managed sales companies that telemarketed printer toner. Id. at 938. A sales company

                                  10   representative would call a business and “insinuate that she was calling from the business’s regular

                                  11   supplier of toner.” Id. at 939. “The sales company representative would then claim that her

                                  12   company had failed to report a recent increase in the price of toner, but that if the business placed
Northern District of California
 United States District Court




                                  13   an order, it could lock in the purported original price.” Id. “The sales company would fax an

                                  14   order confirmation form to any business that agreed to buy toner.” Id. “The form reiterated the

                                  15   toner price that had been quoted on the phone.” Id. The form also stated that the sales company

                                  16   might not be affiliated with the business’s regular toner supplier and might offer different prices

                                  17   from the regular supplier. Id. After the business signed the form, a supplier common to all

                                  18   defendants shipped the toner. Id. “There was no evidence . . . that any businesses did not receive

                                  19   the toner or that any of the toner had defects.” Id.

                                  20          A grand jury indicted defendants for mail fraud and conspiracy. Id. at 938. The

                                  21   Government argued that defendants were liable for material misrepresentations that had induced

                                  22   the victims to part with money, “even though the misrepresentation concern[ed] something other

                                  23   than price or quality.” Id. at 940. The Government also contended that a conviction for mail fraud

                                  24   “requires only that a defendant make a false statement that would be expected to and did cause

                                  25   someone to turn over money––‘[w]hen you lie to somebody on an important fact that causes them

                                  26   to give you money, you have defrauded them.’” Id. at 945. Defendants responded that the

                                  27   Government’s theory of fraud was overbroad because the misrepresentation of a seller’s identity

                                  28   did not deceive businesses about the “nature” of the bargain, given that the businesses all received
                                                                                          4
                                          Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 5 of 26




                                   1   toner at the agreed-upon price. Id. at 940.

                                   2          The defendants proposed a supplemental jury instruction that would have specifically

                                   3   required that the misrepresentation go to the nature of the bargain, but the district court rejected

                                   4   the proposed instruction. Id. Instead, the court instructed the jury on materiality using the Ninth

                                   5   Circuit model jury instructions: that “the statements or promises were material; that is, they had a

                                   6   natural tendency to influence, or were capable of influencing, [a financial institution or a person]

                                   7   to part with money or property.” Id. The jury found the defendants guilty of mail fraud and

                                   8   conspiracy. Id. The defendants appealed their convictions, arguing that “the Government

                                   9   presented an overbroad theory of fraud to the jury” for the reasons set forth above. Id.

                                  10          The Ninth Circuit agreed that the government’s theory of fraud was overbroad. Id. at 938.

                                  11   The court held that “not just any lie that secures a sale constitutes fraud, and that the lie must

                                  12   instead go to the nature of the bargain.” Id. at 944. The court found that “[w]hether a
Northern District of California
 United States District Court




                                  13   misrepresentation goes to the nature of the bargain may depend on the specific transaction at

                                  14   issue.” Id. The court also held that the “jury instructions did not remedy the problem,” because

                                  15   “[t]he instructions did not tell the jury that, to support a conviction for fraud, a false statement

                                  16   must directly or indirectly deceive the victim about the nature of the bargain.” Id. at 945.

                                  17                          5.      Renewed Rule 29 and 33 Motions

                                  18          Rothenberg now renews his Rule 29 and 33 motions based on Milheiser. He makes two

                                  19   principal arguments. First, he argues that this Court, based on Milheiser, should grant Rothenberg

                                  20   a judgment of acquittal on Count Three, and Counts Five to Twenty-Three because there was

                                  21   “insufficient evidence that any misrepresentations went to the ‘nature of the bargain.’” ECF No.

                                  22   384 at 11. In the alternative, he argues the Court should grant a new trial “because the jury

                                  23   instructions here, like the instructions in Milheiser, did not inform the jury that ‘to support a

                                  24   conviction for fraud, a false statement must directly or indirectly deceive the victim about the

                                  25   nature of the bargain.’” Id. (quoting Milheiser, 98 F.4th at 945).

                                  26          The Court addresses these arguments in turn. Additional facts, and a discussion of the

                                  27   evidence produced at trial, are included below as necessary to address Rothenberg’s arguments.

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                                             Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 6 of 26




                                   1   II.      THE SCOPE OF MILHEISER

                                   2            As an initial matter, the parties dispute Milheiser’s scope. The Government attempts to

                                   3   distinguish Milheiser on the grounds that it concerned commodities, and that Milheiser and the

                                   4   cases on which it relies “relate to bargains and transactions that are fundamentally different than

                                   5   the deals at issue in this case.” ECF No. 385 at 10. Rothenberg responds that “Milheiser applies

                                   6   to any federal fraud statute, regardless of whether classified as ‘commodities’ or ‘investment’ or

                                   7   something else.” ECF No. 386 at 5.

                                   8            Neither position accurately fully captures Milheiser’s import. While it is accurate to say

                                   9   that Milheiser applies to any fraud statute, the Milheiser court also made clear that how it applies

                                  10   in a particular case will vary by the type of transaction. Milheiser, 98 F.4th at 944 (“Whether a

                                  11   misrepresentation goes to the nature of the bargain may depend on the specific transaction at

                                  12   issue.”). For example, with respect to the purchase of a commodity, the size or value of the
Northern District of California
 United States District Court




                                  13   company selling that commodity might not be material to a purchaser. Id. at 945. With respect to

                                  14   investments, by contrast, “[b]ecause investments are by nature speculative, whether the investment

                                  15   advisor has a large and successful operation will inform the nature of the bargain––it is relevant

                                  16   information about the value of the investor’s purchase.” Id. at 944. In making this point, the

                                  17   Milheiser court looked to United States v. Tarallo, 380 F.3d 1174 (9th Cir. 2004). In Tarallo, the

                                  18   defendant made two false statements: “that the invested funds would be placed in a trust and

                                  19   would be safe there” and that “he was in an office in Washington, D.C.” Id. at 1182–1183. The

                                  20   Tarallo court held that materiality was satisfied because these statements “influence[d] a potential

                                  21   investor’s decision to invest, and a reasonable investor would find the level of risk to be important

                                  22   in deciding whether to invest.” Id. at 1182. Thus, in evaluating Rothenberg’s arguments and the

                                  23   evidence adduced at trial, the Court considers whether the information at issue was material to the

                                  24   particular kind of transaction at issue, whether it was a loan (Silicon Valley Bank) or a fund

                                  25   investment (Pilot Grove, Unity investors, and 2015 and 2016 Fund investors).

                                  26   III.     RULE 29

                                  27            A.     Legal Standard

                                  28            A court may enter a judgment of acquittal of any offense for which the evidence is
                                                                                          6
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 7 of 26




                                   1   insufficient to sustain a conviction. Fed. R. Crim. P. 29(a). To resolve a Rule 29 motion, the

                                   2   Court conducts the following two-step inquiry:

                                   3                  First, a reviewing court must consider the evidence presented at
                                                      trial in the light most favorable to the prosecution . . . [W]hen
                                   4                  faced with a record of historical facts that supports conflicting
                                                      inferences a reviewing court must presume—even if it does not
                                   5                  affirmatively appear in the record—that the trier of fact resolved
                                                      any such conflicts in favor of the prosecution, and must defer to
                                   6                  that resolution.
                                   7                  Second, after viewing the evidence in the light most favorable to
                                                      the prosecution, the reviewing court must determine whether this
                                   8                  evidence, so viewed, is adequate to allow any rational trier of fact
                                                      [to find] the essential elements of the crime beyond a reasonable
                                   9                  doubt. This second step protects against rare occasions in which a
                                                      properly instructed jury may . . . convict even when it can be said
                                  10                  that no rational trier of fact could find guilt beyond a reasonable
                                                      doubt[.] More than a mere modicum of evidence is required to
                                  11                  support a verdict. At this second step, however, a reviewing court
                                                      may not ask itself whether it believes that the evidence at the trial
                                  12                  established guilt beyond a reasonable doubt, only whether any
Northern District of California
 United States District Court




                                                      rational trier of fact could have made that finding[.]
                                  13

                                  14   United States v. Nevils, 598 F.3d 1158, 1164 (9th Cir. 2010) (internal citations and quotation

                                  15   marks omitted) (emphasis in original). “In ruling on a Rule 29(c) motion, a district court must

                                  16   bear in mind that it is the exclusive function of the jury to determine the credibility of witnesses,

                                  17   resolve evidentiary conflicts, and draw reasonable inferences from proven facts.” United States v.

                                  18   Rojas, 554 F.2d 938, 943 (9th Cir. 1977) (citation and internal quotation marks omitted).

                                  19   “Circumstantial evidence is sufficient to sustain a conviction, and the government’s evidence need

                                  20   not exclude every reasonable hypothesis consistent with innocence.” United States v. Talbert, 710

                                  21   F.2d 528, 530 (9th Cir. 1983) (citations omitted). For all these reasons, “[t]he hurdle to overturn a

                                  22   jury’s conviction based on a sufficiency of the evidence challenge is high.” United States v.

                                  23   Rocha, 598 F.3d 1144, 1153 (9th Cir. 2010).

                                  24          B.      Discussion

                                  25          Rothenberg argues, based on Milheiser, that there was “insufficient evidence that any

                                  26   purported statements to” SVB, Pilot Grove, Unity, and the 2015 and 2016 Fund investors “went to

                                  27   the ‘nature of the bargain.’” ECF No. 384 at 12–14. The Government responds that there is

                                  28   overwhelming evidence that: (1) there was an agreement between Rothenberg and each victim,
                                                                                          7
                                          Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 8 of 26




                                   1   and (2) that Rothenberg’s misrepresentations and omissions went to the core of that bargain. ECF

                                   2   No. 385 at 18–29.

                                   3          As Rothenberg notes, “the specific facts surrounding the transaction must be analyzed to

                                   4   discern what is its ‘essential aspect’ and the ‘nature of the bargain’ contemplated between the

                                   5   parties.” ECF No. 386 at 5. The Court therefore reviews the evidence below. Often, the actual

                                   6   written agreements between the parties provide proof of the bargain.

                                   7          As an overarching matter, however, Defendant’s argument that the money was returned to

                                   8   investors, see ECF No. 384 at 7, is not a defense to fraud. United States v. Molinaro, 11 F.3d 853,

                                   9   863 (9th Cir. 1993) (quoting United States v. Benny, 786 F.2d 1410, 1417 (9th Cir. 1986)).

                                  10                          1.      Silicon Valley Bank

                                  11          The Government argues that Rothenberg deceived Silicon Valley Bank (“SVB”) to obtain

                                  12   a $4 million loan by pledging as collateral $4.25 million comprised of what he told the bank were
Northern District of California
 United States District Court




                                  13   available prepaid management fees from the 2015 Fund, which he represented totaled $5.192

                                  14   million. Trial Tr., vol. 23, 4391–4393; Tr. Ex. 159-0007. The Government’s theory of fraud with

                                  15   respect to SVB focused on two lies: “Lie number one that there were prefunded fees. Lie number

                                  16   two, it’s a $23.6 million fund.” Id., 4391:19–22. That is, the Government argued that these two

                                  17   lies were material to SVB because a bank needs to know “that the collateral it has been given

                                  18   rights to as a remedy for failing to pay back the line of credit will, in fact, be available, with clean

                                  19   title, for seizure in the event of a default.” ECF No. 385 at 27; see also Trial Tr., vol. 23,

                                  20   4396:12–23.

                                  21          Rothenberg responds that these lies were not central to the bargain. He contends that while

                                  22   the “statements about the size of the fund or the source of the collateral were important to SVB,

                                  23   that is not enough.” ECF No. 384 at 13. He maintains that “the ‘bargain’ was SVB would issue a

                                  24   line of credit provided $4.25 million was placed in a collateral account. SVB got its bargain:

                                  25   money was placed in a collateral account and so it extended a line of credit.” Id. Rothenberg also

                                  26   contends that SVB’s “pre-existing relationship with Mr. Rothenberg that predated the line of

                                  27   credit,” meant that “the statements made in connection with the line of credit did not speak to the

                                  28   “nature of the bargain.” ECF No. 386 at 8.
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                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 9 of 26




                                   1          The question for this Court is whether Rothenberg’s misrepresentations go to the “nature

                                   2   of the bargain.”

                                   3          First, the Government introduced the Loan and Security Agreement into evidence, Tr. Ex.

                                   4   173, and SVB Senior Relationship Manager Frank Amoroso explained relevant clauses, Trial Tr.,

                                   5   vol. 6, 1093–1174. The Loan and Security Agreement contained an important representation

                                   6   regarding the collateral––Section 5.2 states “Borrower has good title to the Collateral, free of

                                   7   Liens except Permitted Liens.” Tr. Ex. 173-0008. The Government asked Amoroso why this

                                   8   clause was important:

                                   9                  Q. What does it mean that the borrower is certifying that they have
                                                      good title to the collateral free of liens except permitted liens?
                                  10                  A. It means in this instance that the cash is owned by the borrower.
                                                      It’s the borrower’s cash and no one else’s.
                                  11                  Q. And why is that important to the bank?
                                                      A. Because you are making a loan to this legal entity, and that legal
                                  12                  entity needs to also, in this case, pledge the collateral.
Northern District of California
 United States District Court




                                                      Q. So if the cash to secure the loan actually belonged to someone else
                                  13                  and not the borrower, would the bank approve that loan?
                                                      A. No, not as––not as structured.
                                  14
                                       Trial Tr., vol. 6, 1121:12–24.
                                  15
                                              Second, with respect to the amount of prefunded fees, Amoroso testified that it was
                                  16
                                       important to know the source of the funds in the collateral account because it was the bank’s
                                  17
                                       primary source of repayment.
                                  18
                                                      Q: If I were to tell you that the defendant had already spent all of the
                                  19                  management fees from the entire ten-year life of the 2015 Fund by
                                                      the time this email was sent, would you have approved this loan?
                                  20                  A. No. It would have not been possible.
                                                      Q. Why not?
                                  21                  A. Since our primary source of repayment would have been the––
                                                      that cash from those management fees and they essentially no longer
                                  22                  existed, then you had no primary source of repayment.
                                  23   Trial Tr., vol. 6, 1095:24–1096:9. He testified that if the bank knew the source of the collateral

                                  24   came from the 2013 and 2014 Funds, the loan would not have been approved as “commingling of

                                  25   funds is not allowed.” Id., 1096:25–1097:3.

                                  26          Third, Amoroso explained that fund size is significant because “there are certain

                                  27   underwriting guidelines . . . [and] one of the primary operands in the equation that you take into

                                  28   account is what’s the fund size.” Trial Tr., vol. 5, 1080:3–7. Accordingly, Amoroso testified that
                                                                                         9
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 10 of 26




                                   1   he would not have approved the loan if he knew the true fund size was $13 million. Id., 1080:12–

                                   2   1082:3.

                                   3                  Q: If in fact the 2015 Fund was not $23.6 million, but was in fact
                                                      approximately $13.1 million, would that be significant as to whether
                                   4                  you would fund a line of credit for 95 percent of this approximately
                                                      $5 million?
                                   5                  A. Yes, it would be very significant.
                                                      Q. And why would it be very significant?
                                   6                  A. Because then you would have essentially 55 percent of the
                                                      collateral that was being claimed in the form of cash collateral.
                                   7
                                       Id., 1080:25–1081:9.
                                   8
                                              Amoroso also testified that if the fund size was smaller, the “[t]he loan would not
                                   9
                                       underwrite at the same amount,” id., 1081:23–24, and that “[a]t a minimum, it would reduce the
                                  10
                                       dollar amount by 45-ish percent if it would even underwrite at that lower dollar amount,” Trial Tr.,
                                  11
                                       vol. 6, 1096:19–21.
                                  12
Northern District of California




                                              The evidence ultimately showed that the 2015 Fund had $13.17 million in assets under
 United States District Court




                                  13
                                       management and the total allowable management fees were $4,861,425, but Rothenberg had
                                  14
                                       already taken $6,065,000. Tr. Exs. 572, 152. Thus, whatever money Rothenberg ultimately put
                                  15
                                       into the cash collateral account, he did not have good title to the collateral.
                                  16
                                              A rational jury could easily have concluded that overall fund size which formed the basis
                                  17
                                       of the size of the collateral account, and the title to the cash in the account were “essential aspects”
                                  18
                                       of the transaction between SVB and Rothenberg because they determined a borrower’s ability to
                                  19
                                       repay the loan. A rational jury could have then concluded, beyond a reasonable doubt, that
                                  20
                                       Rothenberg’s representations regarding the source and size of the fund deceived SVB about the
                                  21
                                       nature of the bargain.
                                  22
                                              Defendant argues that the Government’s theory of fraud fails because SVB ultimately
                                  23
                                       received its bargain––a fully funded cash collateral account, and depriving SVB of accurate
                                  24
                                       information cannot constitute fraud. ECF No. 384 at 13 (relying on Milheiser, 98 F.4th at 944
                                  25
                                       (citing United States v. Yates, 16 F.4th 256, 265 (9th Cir. 2021))).
                                  26
                                              In Yates, the government argued that the “defendants—facing pressure from the FDIC and
                                  27
                                       economic uncertainty due to the 2008 financial crisis—had conspired to defraud the bank.” 16
                                  28
                                                                                          10
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 11 of 26




                                   1   F.4th at 263. Specifically, the government presented an “accurate-information theory”––that is,

                                   2   they argued that “[o]ne of the purposes of the conspiracy . . . was to conceal the true financial

                                   3   condition of the Bank and to create a better financial picture.” Id. at 264–65. “[T]he government

                                   4   told the jury that the defendants sought to deprive the bank and the board of directors of accurate

                                   5   financial information in the bank’s books and records, and that without that information . . . the

                                   6   board could not properly analyze the risks posed by the various borrowers who are late.” Id. at

                                   7   265 (internal quotation marks omitted). The government argued in closing that the information

                                   8   was material because the board “relies on the accuracy of financial records to perform its duties.”

                                   9   Id.

                                  10          The Ninth Circuit held that “the accurate-information theory is legally insufficient,” and

                                  11   “there is no cognizable property interest in ‘the ethereal right to accurate information.’” Id. Yates

                                  12   also held that “[r]ecognizing accurate information as property would transform all deception into
Northern District of California
 United States District Court




                                  13   fraud . . . Rather, the scheme must be one to deceive the bank and deprive it of something of

                                  14   value.” Id. (internal citations omitted).

                                  15           Unlike Yates, SVB’s interest in this case was not “ethereal.” The “something of value” in

                                  16   this case was a tangible loan from SVB to Rothenberg––not merely depriving the bank of accurate

                                  17   information. The Government presented evidence that Rothenberg’s misrepresentations affected

                                  18   the ultimate size of the loan that SVB gave Rothenberg, and the title to collateral that SVB

                                  19   received. Trial Tr., vol. 6, 1095:24–1097:3. Furthermore, in closing the Government argued that

                                  20   “Defendant deceived Silicon Valley Bank into believing that the collateral for the $4 million loan

                                  21   was those prefunded fees. It wasn’t. It couldn’t have been. He’d spent it all six months earlier.”

                                  22   Trial Tr., vol. 23, 4393:4–8, 4396:12–25. Thus, unlike Yates, the Government’s theory in this case

                                  23   focused not only on Rothenberg’s misrepresentations to the bank, but also how his

                                  24   misrepresentations deprived the bank of tangible loan assets (where the loan size relied on

                                  25   Rothenberg’s representations) and deprived the bank of collateral with good title. C.f. Yates, 16

                                  26   F.4th at 266.

                                  27                          2.      The Pilot Grove, Unity and 2015 and 2016 Fund Investors

                                  28          The remaining counts in the indictment concern the Pilot Grove, Unity and 2015 and 2016
                                                                                         11
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 12 of 26




                                   1   Fund investors. Rothenberg contends that “[t]he government presented, effectively, two theories

                                   2   in connection with the Pilot Grove, Unity and 2015 and 2016 Fund investors: that Mr. Rothenberg

                                   3   made misrepresentations concerning (1) the ownership of River Studios and (2) how investors’

                                   4   money would be used.” ECF No. 384 at 14. Rothenberg argues as follows regarding the first

                                   5   theory:

                                   6                    The first theory—concerning the ownership of River Studios—did
                                   7                    not speak to the “nature of the bargain.” Even if investors, as the
                                                        government told the jury, “would want to see that cap table,” “want
                                   8                    to know who the other owners are,” and “need to know . . . what are
                                                        the controls?” that is not enough to support a fraud conviction. As
                                   9                    explained in Milheiser, making a false statement that causes
                                                        someone “to engage in transactions it would otherwise avoid” is not
                                  10
                                                        a violation of “the mail or wire fraud statutes.”
                                  11   Id. (relying on Milheiser, 98 F.4th at 944 (quoting United States v. Guertin, 67 F.4th 445, 452
                                  12   (D.C. Cir. 2023))). As for the government’s “second theory—that there were misrepresentations
Northern District of California
 United States District Court




                                  13   made about how solicited funds would be used”—Rothenberg argues that it “might be closer to
                                  14   satisfying the ‘nature of the bargain’ requirement.” Id. But the problem is that “a verdict that may
                                  15   be based on a legally invalid ground must ordinarily be set aside.” Id. (citation omitted).
                                  16             The Court addresses these arguments as they apply to each group of investors.
                                  17
                                                               a.      Pilot Grove
                                  18             Pilot Grove Management LLC and its related entity, Transcend VR LLC (collectively,
                                  19   “Pilot Grove”) was an investment firm located in Las Vegas, Nevada. Trial Tr., vol. 16, 3070:14–
                                  20   20. In 2016, Rothenberg met with representatives of Pilot Grove to solicit an investment in River
                                  21   Studios. Rothenberg told them that the primary use of capital raised by River Studios would be to
                                  22   “fund the premium content opportunities in the pipeline and to roll up M&A talent in VR.” Tr.
                                  23   Ex. 195-0027. The Government alleges that Rothenberg devised a scheme to defraud investors
                                  24   from Pilot Grove by lying about (1) self-funding River Studios; and (2) the purpose for which
                                  25   investors’ funds would be used. Trial Tr., vol. 23, 4406:25–4409:16. The Government argued to
                                  26   the jury that these two lies were material to Pilot Grove and that Pilot Grove investors would not
                                  27   have invested if they knew that (1) their investments would be used to repay Rothenberg’s pre-
                                  28   existing debts, id., 4407:20–24, or (2) if he had not self-funded it, id., 4409:19– 4410:10.
                                                                                         12
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 13 of 26




                                   1   Rothenberg argues that the first lie was not central to the bargain––that is, “even if the investors . .

                                   2   . ‘would want to see that cap table,’ ‘want to know who the other owners are,’ and ‘need to know .

                                   3   . . what are the controls?’ that is not enough to support a fraud conviction.” ECF No. 384 at 14.

                                   4   He also argues that while the second lie (misrepresentations about how the solicited funds would

                                   5   be used) may have pertained to the “nature of the bargain,” because the “jury was not required to

                                   6   make a specific finding as to which of the two theories it was relying on when it convicted, the

                                   7   verdict may rest on a legally invalid theory.” Id.

                                   8          The evidence adduced at trial shows that Rothenberg’s misrepresentations to the Pilot

                                   9   Grove investors were central to the “nature of the bargain.”

                                  10          First, the evidence showed that Rothenberg repeatedly told Pilot Grove’s representatives,

                                  11   Chief Investment Officer Lawrence Weisman and its Chief Executive Officer Dominic Polizzato,

                                  12   that he “self-funded the company in 2015 and continue[s] to do so.” Tr. Ex. 212; see also Trial
Northern District of California
 United States District Court




                                  13   Tr., vol. 16, 3055:12–14 (“Q. And -- and did you ask Mr. Rothenberg for a cap table? A. I did.

                                  14   And he said there is no cap table because he owns a hundred percent of the equity.”). That

                                  15   representation was important to Pilot Grove:

                                  16                  Q. And I think your testimony was that he told you he owned it and
                                                      that he had no prior outside investors; is that correct?
                                  17                  A. That’s correct.
                                                      Q. Was that an important fact to you, Larry Weisman?
                                  18                  A. Absolutely.
                                                      Q. Why was that important?
                                  19                  A. Because it would provide us with a strategic advantage in any
                                                      potential new companies or investments that he made or in any of
                                  20                  the content he created. And typically when you limit the number of
                                                      outside investors, it affords you greater opportunity in your
                                  21                  investment and greater connectivity with Mike directly.
                                  22   Trial Tr., vol. 16, 3018:21–3019:7.
                                  23          That representation was so important to Pilot Grove that they included it in the Convertible

                                  24   Promissory Note between Rothenberg and Pilot Grove. Weisman and Polizzato explained that

                                  25   they had negotiated with Rothenberg to include Clause 5(g) in the Convertible Promissory Note

                                  26   which states: “Mike Rothenberg holds One Hundred Percent (100%) of equity interests of the

                                  27   Company.” Trial Tr., vol. 16, 3055:12–16; Tr. Ex. 215-0018; Tr. Ex. 217-0006. That they

                                  28   required Rothenberg’s representation regarding ownership to be made in writing shows that it
                                                                                          13
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 14 of 26




                                   1   went to the nature of the bargain.

                                   2          The Convertible Promissory Note was not the only evidence showing the importance of

                                   3   this representation. Weisman and Polizzato explained in their testimony that Rothenberg’s

                                   4   representations were material because they impacted Pilot Grove’s risk assessment of River

                                   5   Studios (including the ultimate control they could exercise over the company).

                                   6                  I guess if I knew his funds had invested in River Studios, I would
                                                      never have made the investment . . . I could have gotten that
                                   7                  exposure by just investing in the fund, I would never have taken the
                                                      additional risk of investing in the studio directly on its own. I could
                                   8                  have made a bigger investment into the fund.
                                   9   Trial Tr., vol. 16, 3019:12–18.

                                  10                  I needed to know that what Mr. Rothenberg was selling me was his to
                                                      sell. . . . I needed to know, you know, that there were really no other
                                  11                  investors because at points in time in the evolution of a company, you
                                                      know, people who have put money in expect to have a voice at the
                                  12                  table and I needed to know who those people would be, if they were
Northern District of California




                                                      people I’d want to be in business with, if I thought they were rational,
 United States District Court




                                  13                  if they added any value beyond just their dollars.
                                  14   Trial Tr., vol. 17, 3153:2–10.
                                  15          Polizzato also testified that Rothenberg communicated that he would use investors’ money

                                  16   for general runway––that is, to “buy other companies, smaller virtual reality studios, produce

                                  17   content, make payroll, keep the lights on . . . the general costs of operating any business.” Trial

                                  18   Tr., vol. 17, 3154:17–3155:4. Polizzato testified that Rothenberg never told him that capital was

                                  19   needed to repay prior investments. Id., 3156:3–9. Similarly, Weisman testified that if Rothenberg

                                  20   had told him the true purpose of the funds––that is, to pay himself back for his own investment

                                  21   into River Studios, it “would have been a big red flag because the value of [Pilot Grove’s]

                                  22   contribution would . . . just be a band aid on money he had expended for himself. So [Pilot

                                  23   Grove] would get no value out of it. No one would invest money in those circumstances.” Trial

                                  24   Tr., vol. 16, 3014:21–3015:2; see also id., 3016:11–24 (“Q. So the question was if Mr. Rothenberg

                                  25   had told you that he was going to take a large chunk of Pilot Grove’s money and use it to pay back

                                  26   money that he had taken from venture capital fund, would that have caused you any concern? A.

                                  27   Yes. Q. Why would it have caused you concerns? A. Because it—it would go in direct opposition

                                  28   with the stated purposes that he—it would go—it would be in contrast with what he said he was
                                                                                        14
                                           Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 15 of 26




                                   1   going to do with the money, how he would build a studio. If he is paying himself back, he can’t

                                   2   build a studio. He can’t deliver more creative content. He can’t fund any accretive

                                   3   acquisitions.”). Weisman testified that the only reason Pilot Grove would make any investment in

                                   4   the first place is to achieve the objectives promised by the entity accepting the investment:

                                   5                  [T]he only reason we would make an investment with this high degree
                                                      of risk, fully understanding the company can go bankrupt because it
                                   6                  cannot perform on its objectives, but expecting that it will try and
                                                      comport with its representations about what it’s going to do with the
                                   7                  money.
                                   8   Trial Tr., vol. 16, 3053:5–9.

                                   9           The representations to Pilot Grove were false. Ultimately, the evidence showed that only

                                  10   57.5% of River Studios’ operations had been funded by Rothenberg, with the remainder coming

                                  11   from the 2015 Fund. Trial Tr., vol. 21, 3955–3956. Furthermore, the evidence showed that when

                                  12   Pilot Grove’s money was wired to River Studios, Rothenberg immediately transferred more than
Northern District of California
 United States District Court




                                  13   $1.7 million of Pilot Grove’s investment to the accounts of the 2013 Fund and 2014 Fund to pay

                                  14   those funds’ prior debts. Trial Tr., vol. 19, 3523–3526.

                                  15           From this evidence, a rational jury could have properly concluded that ownership of River

                                  16   Studios and purported use of the capital were critical to Pilot Grove’s risk assessment of the

                                  17   venture. See Tarallo, 380 F.3d at 1182 (a “reasonable investor would find the level of risk to be

                                  18   important in deciding whether to invest”). A rational jury could have also concluded, based on

                                  19   negotiations between Pilot Grove and Rothenberg, that the capitalization and ownership structure

                                  20   of River Studios was an “essential aspect” of the transaction that was memorialized in the contract.

                                  21   Thus, a rational jury could have then concluded beyond a reasonable doubt that Rothenberg’s

                                  22   representations regarding capitalization and fund use deceived Pilot Grove about the nature of the

                                  23   bargain.

                                  24                          3.       Unity Investors3

                                  25           In these counts, the Government alleges that Rothenberg solicited and received funds from

                                  26
                                  27   3
                                        With regards to Unity and 2015–2016 Fund investors, the Government argues, and Defendant
                                  28   does not dispute, that Rothenberg was a fiduciary. ECF No. 386 at 6; ECF No. 387 at 6. Thus,
                                       Rothenberg’s omissions of material facts may also be considered.
                                                                                       15
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 16 of 26




                                   1   investors to purchase the untraded stock of a privately held company called Unity Technologies

                                   2   (“Unity”) when, in fact, he planned to use their money to satisfy the other debts in his business.

                                   3   ECF No. 15 ¶¶ 43–45; see also Trial Tr., vol. 23, 4414–4418. Rothenberg argues that the

                                   4   Government presented his ownership of River Studios as a material misrepresentation to Unity

                                   5   investors. ECF No. 384 at 14. Rothenberg argues that while the second lie (misrepresentations

                                   6   about how the solicited funds would be used) may have pertained to the “nature of the bargain,”

                                   7   because the “jury was not required to make a specific finding as to which of the two theories it

                                   8   was relying on when it convicted, the verdict may rest on a legally invalid theory.” Id.; see also

                                   9   ECF No. 386 at 7.

                                  10          The evidence is undisputed that Rothenberg misrepresented that he would use investor

                                  11   money to buy Unity untraded stock. The 2016 Unity Co-Fund Operating Agreement clearly stated

                                  12   that “[t]he Fund will invest in a special purpose vehicle that will purchase equity securities of
Northern District of California
 United States District Court




                                  13   Unity Software, Inc.” Tr. Ex. 302.

                                  14          The Unity investors all believed that, pursuant to the Operating Agreement and

                                  15   Rothenberg’s representations, their funds would be used to purchase only Unity stock. See Trial

                                  16   Tr., vol. 7, 1334:2–4 (A. Binns) (“I understood that the reason this needed to move fast was

                                  17   because the money was going to be invested in Unity immediately.”); Trial Tr., vol. 8, 1544:8–9

                                  18   (Goldberg) (“We understood the money would be used for the purchase of equity securities in

                                  19   Unity.”); Trial Tr., vol. 9, 1753:10–14 (Johnson) (“My understanding that the funds were going to

                                  20   be used solely for the purchase of shares within Unity, pre-IPO shares, that the funds were going

                                  21   to be held in [a separate] escrow . . . account.”); Trial Tr., vol. 11, 2231:17–18 (T. Melas-Kyriazi)

                                  22   (“It was clearly an investment that was solely in Unity. There was no question about that.”).

                                  23          The evidence at trial showed that of the “$1.35 million of outside investor money [that was

                                  24   raised] for the Unity purpose[,] Zero [went] to Unity.” Trial Tr., vol. 23, 4415–4416. The

                                  25   Government argued that the purchase of the available Unity stock would have cost approximately

                                  26   $14 million, Trial Tr., vol. 9, 1678:10–12, but Rothenberg never raised even close to that amount,

                                  27   Trial Tr., vol. 21, at 3984–3988 (Fujimoto). Furthermore, although Rothenberg told investors he

                                  28   would place their funds in a Unity co-investment vehicle, he instead transferred them into the
                                                                                         16
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 17 of 26




                                   1   RVMC operating account and then to other accounts or spent them on operating expenses. Id.; see

                                   2   also e.g., Tr. Ex. 67-0063; Tr. Ex. 63-0434 to -0438 (showing that funds transferred by the Binns

                                   3   Family Limited Partnership and GHF for the Unity investment were transferred to the main

                                   4   RVMC account and then to other accounts). Rothenberg thereby both misrepresented the purpose

                                   5   for which he would invest the funds, and violated his fiduciary obligations by failing to disclose

                                   6   that he was transferring funds to an entity he controlled. Trial Tr., vol. 23, 4416–4418. The

                                   7   Government argued in summation that Rothenberg’s misrepresentations and omissions were

                                   8   material to investors because they would not have invested if they knew the money would not be

                                   9   used for the Unity purchase. Id., 4418:4–9.

                                  10          Based on this evidence, a rational trier of fact could conclude that the Unity investors

                                  11   specifically invested in the co-fund for the explicit purpose of investing in the acquisition of Unity

                                  12   stock, and that therefore, the purported use of their funds was fundamental to their bargain with
Northern District of California
 United States District Court




                                  13   Rothenberg. As a result, a rational trier of fact could also conclude that Rothenberg’s omissions

                                  14   and ultimate use of the funds to pay back other debts he owed, deceived the Unity investors about

                                  15   the nature of the bargain.

                                  16          This leaves only Rothenberg’s argument that because the government presented evidence

                                  17   that Rothenberg misrepresented his ownership in River Studios, that the jury might have convicted

                                  18   Rothenberg with regard to the Unity fund investors based on that misrepresentation, and not the

                                  19   misrepresentation as to how Rothenberg would invest their money. There is no support in the

                                  20   record for this argument. As the government says in its opposition, “[a]t no point did the

                                  21   government specifically argue that the jury should rely on misrepresentations Rothenberg made to the

                                  22   Unity investors about his alleged ownership of River Studios, or any other collateral

                                  23   misrepresentations, in order to conclude that Rothenberg had made material misrepresentations to

                                  24   those investors.” ECF No. 385 at 19. Rothenberg does not address the point in his reply.

                                  25                          4.      2015 and 2016 Fund Investors

                                  26          The Government contends that with respect to investments in the 2015 and 2016 Funds,

                                  27   Rothenberg solicited money for investment in portfolio companies, but then used them for a

                                  28   variety of other, improper purposes: taking excess management fees, using Funds money to pay
                                                                                         17
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 18 of 26




                                   1   for the operation of River Studios, securing RVMC’s line of credit from SVB, and other purposes.

                                   2   ECF No. 15 ¶¶ 47–49; Trial Tr., vol. 23, 4419–4422; see generally Trial Tr., vol. 21, 3934–3936,

                                   3   3989–4001, 4020–4022 (Fujimoto explaining the use of investor funds for purposes other than

                                   4   investing in portfolio companies). The Government argued that Rothenberg’s lie was material to

                                   5   investors because they would not have invested if they knew the money would not be used for

                                   6   purchase of portfolio companies and would instead be used to secure collateral and other purposes.

                                   7   Trial Tr., vol. 23, at 4423:21–25. As in the case of Unity, Rothenberg argues that the Government

                                   8   presented his ownership of River Studios as a material misrepresentation to 2015 and 2016 Fund

                                   9   investors. ECF No. 384 at 14. Rothenberg argues that while the second lie (misrepresentations

                                  10   about how the solicited funds would be used) may have pertained to the “nature of the bargain,”

                                  11   because the “jury was not required to make a specific finding as to which of the two theories it

                                  12   was relying on when it convicted, the verdict may rest on a legally invalid theory.” Id.; see also
Northern District of California
 United States District Court




                                  13   ECF No. 386 at 7.

                                  14          The question for this Court is whether Rothenberg’s misrepresentation about the use of the

                                  15   funds goes to the “nature of the bargain” between the 2015 and 2016 Fund investors and

                                  16   Rothenberg. That point is not really in dispute.

                                  17          First, witnesses testified that the purpose of the 2015 and 2016 Funds was to invest in

                                  18   portfolio companies. See e.g., Trial Tr., vol. 16, 2971:6–8 (Menezes) (“my purpose with my

                                  19   investment was to invest in portfolio companies and sort of diversify the way in which my money

                                  20   was being, you know, used.”). In fact, some witnesses who ultimately invested in the 2015 and

                                  21   2016 Funds said they were presented with the opportunity to invest directly in River Studios and

                                  22   declined. See e.g., Trial Tr., vol. 6, at 1235:16–1236:7 (Levensohn) (stating that investing in

                                  23   River Studios made “zero sense” because “as a matter of policy, Dolby doesn’t invest in content

                                  24   nor does Dolby Family Ventures.”).

                                  25          Second, the Government entered into evidence the Operating Agreements for the 2015 and

                                  26   2016 Funds that Rothenberg provided investors. Tr. Ex. 22 (2015 Fund); Tr. Ex. 26 (2016 Fund).

                                  27   These documents specified the percentage of funds that could be taken as management fees. Tr.

                                  28   Ex. 22-0039; Tr. Ex. 26-0025 to -0027.
                                                                                          18
                                           Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 19 of 26




                                   1           Third, the Government introduced evidence that Rothenberg had a fiduciary obligation to

                                   2   these investors. Pascal Levensohn from Dolby Family Ventures testified that “fiduciary duty boils

                                   3   down to one thing, which is if I give you money to manage for me, and you have discretion over

                                   4   that money and it’s in your custody, you have the obligation . . . to make sure that my interests are

                                   5   ahead of yours. Meaning you can’t act in your own personal self-interest if it’s going to put me at

                                   6   risk or disadvantage me.” Trial Tr., vol. 6, 1182:13–19. Rothenberg agrees that his fiduciary duty

                                   7   is one fact to be considered in assessing “whether a misrepresentation goes to the nature of the

                                   8   bargain” depending “on the specific transaction at issue.” ECF No. 386 at 6.

                                   9           Evidence adduced at trial also demonstrated that Rothenberg (1) failed to disclose material

                                  10   information about how he was spending money raised from these investors, including breaching

                                  11   his fiduciary duties by self-dealing––that is, directing investor funds to River Studios4 without

                                  12   informing them of his ownership interests; (2) despite the fund operating agreements, using the
Northern District of California
 United States District Court




                                  13   invested money for management fees in excess of what was allowed, or for purposes wholly

                                  14   unrelated to investing in the portfolio companies (including for Rothenberg’s personal bank

                                  15   accounts and for funding the collateral account for SVB’s loan):

                                  16           •      7.2% of investor Michael Antonov’s money was invested in portfolio companies of

                                  17   the 2015 Fund, while 92.8% was transferred to RVMC and spent on RVMC operating expenses,

                                  18   transferred to Rothenberg’s personal account, or spent on River Studios operating expenses. Trial

                                  19   Tr., vol. 21, 3991:16–3992:10; Tr. Ex. 69-0045 (showing same-day transfer of funds).

                                  20           •      48.9% of investor GHF’s money was invested in portfolio companies of the 2015

                                  21   Fund, Trial Tr., vol. 21, 4022:14–15, while 51.1% was transferred the same day initially to RVMC

                                  22   and then to Rothenberg’s personal account. Id., 3992:17–3996:1; Tr. Ex. 69-0045 (showing same-

                                  23   day transfer of funds); Tr. Ex. 63-0253 to -0254; Tr. Ex. 97-0011.

                                  24           •      4.0% of investor HTC’s money was invested in portfolio companies of the 2015

                                  25   Fund, Trial Tr., vol. 21, 4022:16–17, while 96% was transferred the same day to RVMC where

                                  26   portions were used for the payment of operating expenses, with the remainder transferred either to

                                  27
                                       4
                                  28    The Government raised River Studios in closing argument to demonstrate that Rothenberg
                                       breached his fiduciary duties to the 2015 and 2016 Fund investors. Trial Tr., vol. 23, 4419:9–15.
                                                                                       19
                                           Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 20 of 26




                                   1   Rothenberg’s personal account or to River Studios. Id., 3997:17–3998:22; Tr. Ex. 69-0059

                                   2   (showing receipt of funds and then transfer of funds to RVMC main account); Tr. Ex. 63-0297 to -

                                   3   0298 (funds moving from RVMC main account to River Studios/Bend Reality); Tr. Ex. 97-0031.

                                   4           •       None of investor Natala Menezes’s money was invested in portfolio companies.

                                   5   Trial Tr., vol. 21, 3936:4–6. Instead, it was all transferred the same day to fund the SVB collateral

                                   6   account. Id., 3935:16–25, 3937:4–6, 3942:1–12; Tr. Ex. 69-0079 (showing amount received and

                                   7   then transferred as part of larger transfer to RVMC main account).

                                   8           •       None of investor Korea Investment Partners’ money was invested in portfolio

                                   9   companies. Trial Tr., vol. 21, 3951:6–3952:19. Rather, it was transferred the same day to repay

                                  10   investor ARCHina. Id.; Tr. Ex. 76-0018 (showing amount received from Korea Investment

                                  11   Partners, and then being transferred as part of a larger amount to ARCHina).

                                  12           A rational trier of fact could conclude that the 2015 and 2016 Fund investors specifically
Northern District of California
 United States District Court




                                  13   invested in the 2015 and 2016 Funds for the explicit purpose of investing in portfolio companies

                                  14   (and Rothenberg does not argue otherwise). The same jury could also conclude that his omissions

                                  15   about the funds were material. See United States v. Harder, 116 F. Supp. 3d 1197, 1226 (D. Or.

                                  16   2015) (“Had these material misrepresentations or misleading half-truths not been made or had

                                  17   these material omissions been timely and fully disclosed, the investors would have had the

                                  18   opportunity themselves to weigh the benefits of their contemplated investments alongside the

                                  19   relevant risks.”).

                                  20           In sum, viewing the evidence in the light most favorable to the Government, the Court

                                  21   finds that any rational trier of fact would find, beyond a reasonable doubt, that Rothenberg’s

                                  22   representations and omissions went to the nature of the bargain between Rothenberg and SVB,

                                  23   Pilot Grove, Unity investors, and the 2015 and 2016 Fund investors.5

                                  24           Accordingly, the Court denies Rothenberg’s motion for a new trial.

                                  25

                                  26
                                       5
                                         Once again, the Court is left with Rothenberg’s argument that because the government presented
                                       evidence that Rothenberg misrepresented his ownership in River Studios, that the jury might have
                                  27   convicted Rothenberg with regard to the 2015 and 2016 investors based on that misrepresentation,
                                       not the misrepresentation as to how Rothenberg would invest their money. Once again, there is no
                                  28   support in the record for this argument. Rothenberg provides no citations to evidence or argument
                                       from which the jury could have reached this conclusion.
                                                                                       20
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 21 of 26




                                   1   IV.     RULE 33

                                   2           Rothenberg moves for a new trial based on instructional error. ECF No. 384 at 15. He

                                   3   argues that because the Court used the same Ninth Circuit model jury instructions at issue in

                                   4   Milheiser, “the jury instructions here misstated a crucial element of the offense” such that “a new

                                   5   trial with jury instructions that correctly explain that fraud requires a false statement that deceives

                                   6   the victim about the ‘nature of the bargain’ is necessary.” Id. at 15–16.

                                   7           A.      Legal Standard

                                   8           Under Federal Rule of Criminal Procedure 33, “[u]pon the defendant’s motion, the court

                                   9   may vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim.

                                  10   P. 33(a). “[A] district court’s power to grant a motion for a new trial is much broader than its

                                  11   power to grant a motion for judgment of acquittal. The court is not obliged to view the evidence

                                  12   in the light most favorable to the verdict, and it is free to weigh the evidence and evaluate for itself
Northern District of California
 United States District Court




                                  13   the credibility of the witnesses . . . . If the court concludes that, despite the abstract sufficiency of

                                  14   the evidence to sustain the verdict, the evidence preponderates sufficiently heavily against the

                                  15   verdict that a serious miscarriage of justice may have occurred, it may set aside the verdict, grant a

                                  16   new trial, and submit the issues for determination by another jury.” United States v. Kellington,

                                  17   217 F.3d 1084, 1097 (9th Cir. 2000) (internal citations and quotation marks omitted). A decision

                                  18   to grant a new trial is “within the sound discretion of the district court.” Id. at 1212 (quotation

                                  19   omitted).

                                  20           A “motion for new trial under Rule 33 may be granted for failure to give proper jury

                                  21   instructions.” United States v. Kramer, 5:16-CR-00322-EJD, 2020 WL 5408165, at *5 (N.D. Cal.

                                  22   Sep. 9, 2020). “An error in misdescribing or omitting an element of the offense in a jury

                                  23   instruction is harmless if it is ‘clear beyond a reasonable doubt that a rational jury would have

                                  24   found the defendant guilty absent the error.’” United States v. Thongsy, 577 F.3d 1036, 1043 (9th

                                  25   Cir. 2009) (quoting Neder v. United States, 527 U.S. 1, 18 (1999)). “The ‘[u]se of a model jury

                                  26   instruction does not preclude a finding of error.’” Bearchild v. Cobban, 947 F.3d 1130, 1142 (9th

                                  27   Cir. 2020) (quoting Dang v. Cross, 422 F.3d 800, 805 (9th Cir. 2005)).

                                  28           However, “[w]here a defendant fails properly to object to a jury instruction or to an
                                                                                          21
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 22 of 26




                                   1   omission from a jury instruction, we review for plain error.” United States v. Fuchs, 218 F.3d

                                   2   957, 961 (9th Cir. 2000). “A trial court commits plain error when (1) there is error, (2) that is

                                   3   plain[,] i.e., clear and obvious, and (3) the error affects substantial rights[,] i.e., affects the

                                   4   outcome of the proceedings.” United States v. Shields, 844 F.3d 819, 823 (9th Cir. 2016) (internal

                                   5   quotation marks and alterations omitted). The plain error standard applies to an unpreserved issue

                                   6   “even where an intervening change in the law is the source of the error.” United States v.

                                   7   Christensen, 828 F.3d 763, 779 (9th Cir. 2015).

                                   8             “It is the rare case in which an improper instruction will justify reversal of a criminal

                                   9   conviction when no objection has been made in the trial court.” Henderson v. Kibbe, 431 U.S.

                                  10   145, 154 (1977).

                                  11             B.     Discussion

                                  12             Rothenberg did not object to the materiality instruction in this case. Accordingly, the
Northern District of California
 United States District Court




                                  13   Court reviews whether there was instructional error under the plain error standard and determines

                                  14   whether: a) there was error, b) the error was clear and obvious and c) the error affected substantial

                                  15   rights.

                                  16                            a.      Error
                                  17             “In reviewing jury instructions, the relevant inquiry is whether the instructions as a whole

                                  18   are misleading or inadequate to guide the jury’s deliberation.” United States v. Walter-Eze, 869

                                  19   F.3d 891, 911 (9th Cir. 2017). Thus, “the adequacy of jury instructions is not determined by the

                                  20   giving of any one instruction, but by examining the instructions as a whole.” United States v.

                                  21   Ancheta, 38 F.3d 1114, 1116 (9th Cir. 1994) (quoting United States v. Boekelman, 594 F.2d 1238,

                                  22   1240 (9th Cir. 1979)).

                                  23             Rothenberg argues that “the Ninth Circuit’s model jury instruction defining “materiality”

                                  24   given to the jury in this case do[es] not accurately state the law,” because after Milheiser, the

                                  25   instruction “did not tell the jury that, to support a conviction for fraud, a false statement must

                                  26   directly or indirectly deceive the victim about the nature of the bargain.” ECF No. 384 at 5, 16.

                                  27   The Government responds that there are two flaws with Rothenberg’s argument. First, the

                                  28   Government contends that “[t]he Milheiser court did not find instructional error.” ECF No. 385 at
                                                                                            22
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 23 of 26




                                   1   12, 29. Rather, the Government claims the Milheiser decision was “based on the government’s

                                   2   assertion of an overbroad theory of fraud at trial.” Id. The Government argues that the “Court’s

                                   3   instruction to the jury regarding materiality was based on the standard set by the Supreme Court in

                                   4   Neder, 527 U.S. 1,” and there is “no intervening Supreme Court case . . . that casts doubt on this

                                   5   formulation of ‘materiality.’” Id. at 29. Second, the Government urges the Court to read the

                                   6   materiality instruction in the context of the additional instructions regarding alleged victim

                                   7   conduct to find that “unlike the jury in Milheiser, the jury in this case was properly focused by the

                                   8   Court and the parties on the nature of the bargain.” Id. at 17, 18 n.3.

                                   9          The Court briefly summarizes its relevant instructions. The Court instructed the jury that

                                  10   “statements or promises were material; that is, they had a natural tendency to influence, or were

                                  11   capable of influencing, [a financial institution or a person] to part with money or property.” ECF

                                  12   No. 338 at 16, 19, 22. In addition, Jury Instruction 22––titled “Wire Fraud––Alleged Victim’s
Northern District of California
 United States District Court




                                  13   Conduct” instructed the jury that it could consider “the investors’ processes for deciding whether

                                  14   to invest money in one or more entities associated with Michael Rothenberg . . . to the extent that

                                  15   it helps you determine whether the statements made as part of the alleged scheme were material.”

                                  16   Id. at 27. Similarly, Jury Instruction 23––titled “Bank Fraud and False Statements to a Financial

                                  17   Institution––Alleged Victim’s Conduct” instructed the jury that it could consider “evidence

                                  18   regarding Silicon Valley Bank’s processes for deciding whether to lend money to the extent that it

                                  19   helps you determine whether the statements were material.” Id. at 28. Finally, the instructions

                                  20   also required the jury to find that Rothenberg had an “intent to deceive and cheat” in order to find

                                  21   that he had an intent to defraud as required by the statute. Id. at 16, 19, 22.

                                  22          First, Rothenberg is correct that Milheiser constitutes a change in the law of the Ninth

                                  23   Circuit. Milheiser clearly states that the model instruction on materiality is incomplete, and the

                                  24   jury must be instructed that “to support a conviction for fraud, a false statement must directly or

                                  25   indirectly deceive the victim about the nature of the bargain.” Milheiser, 98 F.4th at 945. The

                                  26   jury instruction in this case did not capture the full breadth of the Government’s burden. See

                                  27   Christensen, 828 F.3d at 787 (holding that jury instructions constituted plain error because

                                  28   “although it was not obvious to the district court at the time,” the Ninth Circuit later decided a case
                                                                                         23
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 24 of 26




                                   1   that changed the standard.)

                                   2          Second, the Court finds that the other instructions given to the jury did not remedy the

                                   3   incomplete materiality definition. The instructions regarding victim conduct ensured that the jury

                                   4   did not improperly consider victim negligence in deciding the counts on wire or bank fraud. The

                                   5   instructions allowed the jury to determine whether lenders or investors had “policies or practices

                                   6   that intentionally disregard[ed] facts” which would have been “relevant and admissible to show

                                   7   that the facts were not material.” United States v. Wagner, No. 2:10-CR-00399-MMD, 2012 WL

                                   8   4482403, at *2 (D. Nev. Sept. 26, 2012) (finding that “[i]f the lenders would have approved the

                                   9   loans even were the alleged incentives disclosed, and if the incentives would not have had a

                                  10   natural tendency to influence or been capable of influencing the lenders, [defendant’s]

                                  11   misrepresentations would not be material.”); see also United States v. Holmes, No. 5:18-CR-

                                  12   00258-EJD-1, 2021 WL 2044470, at *48 (N.D. Cal. May 22, 2021) (finding that “the way victims
Northern District of California
 United States District Court




                                  13   reacted to alleged misrepresentations . . . is highly relevant to their credibility.”) However, neither

                                  14   instruction pertained squarely to the nature of the bargain, and did not, as the Ninth Circuit

                                  15   requires, “repeatedly and exhaustively remind[] the jury of the proper legal standard” regarding

                                  16   materiality. Ancheta, 38 F.3d at 1117. Furthermore, the instruction that the jury must find

                                  17   Rothenberg had an intent to defraud––that is, an intent to deceive and cheat, does not “cure [] any

                                  18   defect regarding an instruction on the different element of materiality.” ECF No. 386 at 6.

                                  19   Although the “jury was instructed it had to find an intent to cheat,” this finding does not

                                  20   necessitate or subsume a finding that Rothenberg’s misstatement went to the “nature of the

                                  21   bargain” between the parties. Id.

                                  22          Accordingly, the Court concludes that there was instructional error.

                                  23                          b.      Clear and Obvious
                                  24          Next, the Court considers if the instructional error was plain––i.e., clear and obvious. If a

                                  25   district court relied on Ninth Circuit Model Jury Instructions for “wire fraud,” and “there was then

                                  26   no controlling case law” explaining the proper standard, the error was not “clear and obvious.”

                                  27   Kramer, 2020 WL 5408165, at *6 (citing Shields 844 F.3d at 823).

                                  28          As in Shields, this Court relied on the Ninth Circuit Model Jury Instructions for wire fraud
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                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 25 of 26




                                   1   (instruction 15.35), which did not include a materiality definition that considered the nature of the

                                   2   bargain. Shields, 844 F.3d at 823. The Court “followed the Model Instructions, the defendants

                                   3   did not object,” and at the time of the instruction, “there was then no controlling case law” stating

                                   4   that the Government had to prove that the false statement must directly or indirectly deceive the

                                   5   victim about the nature of the bargain. Id. Thus, the Court’s instructional error was not “clear and

                                   6   obvious.” Id.

                                   7                          c.      Affects Substantial Rights
                                   8          Finally, Rothenberg must show that the “the error affects substantial rights [i.e., affects the

                                   9   outcome of the proceedings].” Id. Rothenberg argues that the Government did not present

                                  10   sufficient evidence that his false statements “directly or indirectly deceive[d] the victim about the

                                  11   nature of the bargain,” such that the jury could have found in his favor if properly instructed. ECF

                                  12   No. 384 at 12–14.
Northern District of California
 United States District Court




                                  13          To determine whether the error affected “substantial rights,” “[a court] must ‘conduct a

                                  14   thorough examination’ of all the evidence in the record and ask whether the omitted element was

                                  15   supported by sufficient evidence.” United States v. Conti, 804 F.3d 977, 981–82 (9th Cir. 2015)

                                  16   (citing Neder, 527 U.S. at 19). “Cases that have upheld convictions rendered on incomplete or

                                  17   erroneous jury instructions have relied on ‘strong and convincing evidence’ that the prosecution

                                  18   has adequately proved the missing element of the crime.” Id. (internal citations omitted). Courts

                                  19   “must also consider whether the defendant contested the omitted element and raised evidence

                                  20   sufficient to support a contrary finding, and finally whether the jury verdict would have been the

                                  21   same absent the error.” Id. (internal citations and quotation marks omitted).

                                  22          As described above in Section III.B, a review of the trial record regarding the omitted

                                  23   element (that Rothenberg’s misrepresentations and omissions deceived the victims about the

                                  24   nature of the bargain) shows that the Government presented overwhelming evidence on this

                                  25   element during trial. The Court finds that the jury would have convicted Rothenberg even if it had

                                  26   been properly instructed because of the volume and weight of evidence adduced against

                                  27   Rothenberg in the trial record.

                                  28          In sum, the Court concludes that even if it committed error in giving the incomplete
                                                                                         25
                                         Case 4:20-cr-00266-JST Document 395 Filed 08/07/24 Page 26 of 26




                                   1   materiality instruction, such error was not plain, and Rothenberg has not met his burden in

                                   2   showing that a different instruction would affect the outcome of the trial. The Government’s

                                   3   evidence that Rothenberg’s representations and omissions went to the nature of the bargain is

                                   4   overwhelming. Accordingly, the Court denies Rothenberg’s motion for a new trial.

                                   5                                            CONCLUSION

                                   6          For the foregoing reasons, the Court denies Rothenberg’s motions for a judgment of

                                   7   acquittal and for a new trial.

                                   8          IT IS SO ORDERED.

                                   9   Dated: August 7, 2024
                                                                                       ______________________________________
                                  10
                                                                                                     JON S. TIGAR
                                  11                                                           United States District Judge

                                  12
Northern District of California
 United States District Court




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